














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






PD-NO. 1155-07





HAROLD WAYNE BUNKLEY, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE NINTH COURT OF APPEALS

MONTGOMERY COUNTY





Per curiam.  Keasler and Hervey, JJ., dissent.


ORDER

	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i), 
because the original petition does not contain a complete copy of the opinion of the court
of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
COURT OF CRIMINAL APPEALS within thirty days after the date of this order.

En banc

Delivered:   September 26, 2007

Do Not Publish


